                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF WISCONSIN
                                  MILWAUKEE DIVISION


AUTUMN CURTIS
4424 North 25th Street
Milwaukee, Wisconsin 53209

                Plaintiff,                                   Case No.: 20-cv-46

       v.                                                    JURY TRIAL DEMANDED

STONE RIDGE MARKET LLC
W240 N1485 Pewaukee Road
Pewaukee, Wisconsin 53186

       and

RAJWINDER SINGH
611 East Wisconsin Street
Portage, Wisconsin 53901

                Defendants


                                          COMPLAINT


       COMES NOW Plaintiff, Autumn Curtis, by her counsel, WALCHESKE & LUZI, LLC, as

and for a claim against Defendants, alleges and shows to the Court as follows:

                                 JURISDICTION AND VENUE

       1.       This Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1331 because

this case involves a federal question under the Fair Labor Standards Act of 1938, as amended, 29

U.S.C. § 201 et seq. (“FLSA”).

       2.       This Court has supplemental jurisdiction over this matter pursuant to 28 U.S.C.

§ 1367 because this case involves claims under Wisconsin’s Wage Payment and Collection Laws




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(“WWPCL”), and these claims are so related in this action within such original jurisdiction that

they form part of the same case or controversy under Article III of the United States Constitution.

         3.    Venue is proper in this District pursuant to 28 U.S.C. §§ 1391(b) and (c) because

Defendants reside and/or operate their business in the Eastern District of Wisconsin and the

unlawful employment practices of which Plaintiff complains occurred within the Eastern District of

Wisconsin.

                                  PARTIES AND COVERAGE

         4.    Plaintiff, Autumn Curtis, is an adult female resident of the State of Wisconsin with a

post office address of 4424 North 25th Street, Milwaukee, Wisconsin 53209.

         5.    Defendant, Stone Ridge Market LLC, was, at all material times herein, a commercial

entity doing business in the State of Wisconsin with a principal address of W240 N1485 Pewaukee

Road, Pewaukee, Wisconsin 53186.

         6.    Defendant Stone Ridge Market operates as a Mobil gas station and Subway

restaurant in Pewaukee, Wisconsin.

         7.    Defendant, Rajwinder Singh, was, at all material times herein, an individual resident

of the State of Wisconsin with a principal address of 611 East Wisconsin Street, Portage, Wisconsin

53901.

         8.    Defendant Singh owns, operates, and manages Defendant Stone Ridge Market.

         9.    During the relevant time periods as stated herein, Defendant Stone Ridge Market

was engaged in “commerce” and/or its employees were engaged in “commerce,” as that term is

defined under the FLSA.

         10.   During the relevant time periods as stated herein, Defendant Stone Ridge Market

employed more than two (2) employees.




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        11.     During the relevant time periods as stated herein, Defendant Stone Ridge Market’s

annual dollar volume of sales or business exceeded $500,000.

        12.     During the relevant time periods as stated herein, Defendants were an “employer”

as that term is defined under the FLSA and the WWPCL.

        13.     During the relevant time periods as stated herein, Plaintiff was “employed” by

and/or an “employee” of Defendants, as these terms are defined under the FLSA and the

WWPCL.

        14.     During the relevant time periods as stated herein, Defendant Singh was an

“employer” as that term is defined under the FLSA and/or the WWPCL.

        15.     During Plaintiff’s employment with Defendants, Defendant Singh supervised

Plaintiff’s day-to-day activities.

        16.     During Plaintiff’s employment with Defendants, Defendant Singh had the ability

and authority to (and actually did), hire, terminate, promote, demote, and/or suspend Plaintiff.

        17.     During Plaintiff’s employment with Defendants, Defendant Singh had the ability

and authority to (and actually did), review Plaintiff’s work performance.

        18.     During Plaintiff’s employment with Defendants, Defendant Singh established the

work rules, policies, and procedures by which Plaintiff abided while performing compensable

work for Defendants, on behalf of Defendants, and/or at Defendants’ direction.

        19.     During Plaintiff’s employment with Defendants, Defendant Singh controlled the

terms and conditions of Plaintiff’s employment.

        20.     During Plaintiff’s employment with Defendants, Defendant Singh established

Plaintiff’s work schedule and provided Plaintiff with work assignments and hours of work.




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        21.      During Plaintiff’s employment with Defendants, Defendant Singh tracked and/or

recorded Plaintiff’s hours of work.

        22.      During Plaintiff’s employment with Defendants, Defendant Singh established

Plaintiff’s compensation methods, rates, and structure.

        23.      During Plaintiff’s employment with Defendants, Plaintiff was engaged in

commerce or in the production of goods for commerce.

                                  GENERAL ALLEGATIONS

        24.      On or about September 18, 2018, Defendant Singh hired Plaintiff into a

server/cashier position of working in the Subway restaurant at Defendants.

        25.      During the entirety of Plaintiff’s employment with Defendants, Plaintiff reported

directly to Defendant Singh, the owner, operator, and manager of Defendant Stone Ridge

Market.

        26.      During the entirety of Plaintiff’s employment with Defendants, Defendants

compensated Plaintiff on an hourly basis and/or with an hourly rate of pay for any and all work

performed on their behalf, with their knowledge, at their direction, and/or for their benefit.

        27.      During Plaintiff’s employment with Defendants, Defendants compensated

Plaintiff on a bi-weekly basis via check for any and all compensable work performed.

        28.      During Plaintiff’s employment with Defendants and during the workweeks that

comprised the time period of approximately November 10, 2019 to November 23, 2019,

Defendants agreed to compensate Plaintiff at the hourly rate of $11.75 for any and all hours

worked or work performed on their behalf, with their knowledge, at their direction, and/or for

their benefit.




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       29.     On or about November 22, 2019 was Plaintiff’s last day of actual work for

Defendants.

       30.     During the entirety of Plaintiff’s employment with Defendants, Plaintiff was a

non-exempt employee under the FLSA and WWPCL.

       31.     During Plaintiff’s employment with Defendants, Defendants established

workweek for FLSA and/or WWPCL purposes was Sunday through Saturday.

       32.     During Plaintiff’s employment with Defendants and during the workweeks that

comprised the time period of approximately November 10, 2019 to November 23, 2019, Plaintiff

performed approximately 38.92 hours of work with Defendants’ knowledge, at Defendants’

direction, for Defendants’ benefit, and/or on Defendants’ behalf.

       33.     Defendants’ normal and customary payroll date was November 28, 2019 for any

and all hours worked by Plaintiff during the workweeks that comprised approximately November

10, 2019 to November 23, 2019.

       34.     During Plaintiff’s employment with Defendants and during the workweeks that

comprised approximately November 10, 2019 to November 23, 2019, Defendants did not

compensate Plaintiff for any hours that Plaintiff worked or work that Plaintiff performed during

these workweeks.

       35.     During Plaintiff’s employment with Defendants and during the workweeks that

comprised approximately November 10, 2019 to November 23, 2019, Defendants suffered or

permitted Plaintiff to work without compensating Plaintiff for any hours worked or work

performed.

       36.     During Plaintiff’s employment with Defendants and during the workweeks that

comprised approximately November 10, 2019 to November 23, 2019, Defendants suffered or




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permitted Plaintiff to work without compensating Plaintiff with an effective hourly rate of at

least $7.25 per hour for any and all hours worked or work performed.

       37.     During Plaintiff’s employment with Defendants and during the workweeks that

comprised approximately November 10, 2019 to November 23, 2019, Defendants suffered or

permitted Plaintiff to work without compensating Plaintiff with her agreed-upon and regularly

hourly rate of pay of $11.75 for any and all hours worked or work performed.

       38.     During Plaintiff’s employment with Defendants and during the workweeks that

comprised approximately November 10, 2019 to November 23, 2019, Defendants suffered or

permitted Plaintiff to work without compensating Plaintiff with earned compensation totaling

approximately $457.31.

       39.     During Plaintiff’s employment with Defendants, Defendants suffered or permitted

Plaintiff to work without appropriately and lawfully compensating her for all hours worked each

workweek, including but not limited to for any and all hours worked during the workweeks from

approximately November 10, 2019 to November 23, 2019.

       40.     Defendants knew or should have known that Plaintiff must be compensated for all

hours worked (and for all hours Defendants suffered or permitted her to work) in a workweek in

accordance with the FLSA and WWPCL.

       41.     Defendants had a statutory duty to comply with the FLSA and WWPCL and to

remedy FLSA and WWPCL violations of which they were aware and/or of which they should

have been aware.

       42.     Defendants owe Plaintiff earned and unpaid wages for work performed during

Plaintiff’s employment with Defendants for which Plaintiff was not properly and lawfully

compensated, in a total amount of $457.31, plus an equal amount for liquidated damages.




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        FIRST CAUSES OF ACTION – FLSA VIOLATIONS (MINIMUM WAGE)

       43.     Plaintiff reasserts and incorporates by reference all paragraphs set forth above as if

restated herein.

       44.     Section 206(a)(1) of the FLSA regulates, among other things, the payment of a

minimum wage by employers whose employees are engaged in commerce, or engaged in the

production of goods for commerce, or employed in an enterprise engaged in commerce or in the

production of goods for commerce.

       45.     At all times material herein, Plaintiff was entitled to the rights, protections, and

benefits provided under the FLSA, 29 U.S.C. § 201 et seq.

       46.     Defendants intentionally violated the FLSA by failing to compensate Plaintiff

with an effective hourly rate of at least $7.25 per hour for all hours worked during the

workweeks from approximately November 10, 2019 to November 23, 2019 during her

employment with Defendants.

       47.     Defendants’ failure to properly and legally compensate Plaintiff for all

compensable work performed at a minimum rate of pay during her employment with Defendants

was willfully perpetrated. Defendants have neither acted in good faith nor with reasonable

grounds to believe that their actions and omissions were not a violation of the FLSA, and as a

result thereof, Plaintiff is entitled to recover an award of liquidated damages in an amount equal

to the amount of unpaid minimum wages as described above pursuant to Section 216(b) of the

FLSA. Alternatively, should the Court find that Defendants acted reasonably and with good faith

in failing to pay minimum wages, Plaintiff is entitled to an award of pre-judgment interest at the

applicable legal rate.




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       48.     As a result of the aforesaid willful violations of the FLSA’s provisions, minimum

wages have been unlawfully withheld from Plaintiff by Defendants.

       49.     Plaintiff is entitled to damages equal to the minimum wages due and owing to her

within the three (3) years preceding the date of filing of this Complaint, ECF No. 1, plus periods

of equitable tolling because Defendants acted willfully and knew or showed reckless disregard of

whether their conduct was prohibited by the FLSA and otherwise engaged in wrongful conduct

that prevented Plaintiff from asserting her claims against Defendants.

       50.     Pursuant to the FLSA, 29 U.S.C. § 216(b), successful Plaintiffs are entitled to

reimbursement of the costs and attorneys’ fees expended in successfully prosecuting an action

for unpaid wages.

    SECOND CAUSES OF ACTION – WWPCL VIOLATIONS (MINIMUM WAGES)

       51.     Plaintiff reasserts and incorporates by reference all paragraphs set forth above as if

restated herein.

       52.     At all times material herein, Plaintiff was an employee of Defendants within the

meaning of Wis. Stat. § 109.01(1r), Wis. Stat. §103.001(5), and Wis. Stat. §104.01(2)(a).

       53.     At all times material herein, Defendants were employers of Plaintiff within the

meaning of Wis. Stat. § 109.01(2), Wis. Stat. §103.001(6), Wis. Stat. §104.01(3)(a), and Wis.

Admin. Code § DWD 272.01(5).

       54.     At all times material herein, Defendants employed Plaintiff within the meaning of

Wis. Stat. §§109.01 et seq., 103.01 et seq., 104.01 et seq., and Wis. Admin. Code § DWD

272.01.

       55.     At all times material herein, Plaintiff regularly performed activities that were an

integral and indispensable part of her principal activities without receiving compensation for




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these activities, including but not limited to minimum wages at an hourly rate of $7.25 for any

and all hours worked from approximately November 10, 2019 to November 23, 2019.

       56.     Defendants willfully and intentionally violated the WWPCL by failing to

compensate Plaintiff with an hourly rate of at least $7.25 per hour for any and all hours worked

during the workweeks from approximately November 10, 2019 to November 23, 2019 during her

employment with Defendants.

       57.     As set forth above, Plaintiff sustained losses in compensation as a proximate result

of Defendants’ violations. Accordingly, Plaintiff seeks damages in the amount of her unpaid

compensation, injunctive relief requiring Defendants to cease and desist from its violations of the

Wisconsin laws described herein and to comply with them, and such other legal and equitable

relief as the Court deems just and proper. Under Wis. Stat. § 109.11, Plaintiff may be entitled to

liquidated damages equal and up to fifty percent (50%) of the unpaid wages.

       58.     Plaintiff seeks recovery of attorneys’ fees and the costs of this action to be paid by

Defendants, pursuant to the WWPCL.

                   THIRD CAUSE OF ACTION – WWPCL VIOLATIONS
                     (FAILURE TO PAY AN AGREED-UPON WAGE)

       59.     Plaintiff reasserts and incorporates by reference all paragraphs set forth above as if

restated herein.

       60.     At all times material herein, Plaintiff was an employee of Defendants within the

meaning of Wis. Stat. § 109.01(1r), Wis. Stat. §103.001(5), and Wis. Stat. §104.01(2)(a).

       61.     At all times material herein, Defendants were employers of Plaintiff within the

meaning of Wis. Stat. § 109.01(2), Wis. Stat. §103.001(6), Wis. Stat. §104.01(3)(a), and Wis.

Admin. Code § DWD 272.01(5).




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       62.     At all times material herein, Defendants employed Plaintiff within the meaning of

Wis. Stat. §§109.01 et seq., 103.01 et seq., 104.01 et seq., and Wis. Admin. Code § DWD

272.01.

       63.     At all times material herein, Plaintiff regularly performed activities that were an

integral and indispensable part of her principal activities without receiving compensation for

these activities at her previously agreed-upon hourly rate of pay with Defendants.

       64.     During Plaintiff’s employment with Defendants, Defendants willfully and

intentionally failed to compensate Plaintiff for all hours worked and work performed, including

but not limited to with agreed-upon wages as defined in Wis. Stat. § 109.01(3), by failing to

compensate her with her agreed-upon regular or hourly rate of pay of $11.75 for any and all

hours worked during the workweeks from approximately November 10, 2019 to November 23,

2019 during her employment with Defendants, in violation of the WWPCL.

       65.     As set forth above, Plaintiff sustained losses in compensation as a proximate result

of Defendants’ violations. Accordingly, Plaintiff seeks damages in the amount of her unpaid

compensation, injunctive relief requiring Defendants to cease and desist from its violations of the

Wisconsin laws described herein and to comply with them, and such other legal and equitable

relief as the Court deems just and proper. Under Wis. Stat. § 109.11, Plaintiff may be entitled to

liquidated damages equal and up to fifty percent (50%) of the unpaid wages.

       66.     Plaintiff seeks recovery of attorneys’ fees and the costs of this action to be paid by

Defendants, pursuant to the WWPCL.




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      WHEREFORE, Plaintiff respectfully requests that this Court:

      1. Order Defendants to make Plaintiff whole by providing reimbursement for unpaid

          wages, including but not limited to minimum wages and agreed-upon wages, for pre-

          judgment and post-judgment interest, and for all times spent performing compensable

          work for which Plaintiff was not properly paid by Defendants under the FLSA and

          WWPCL;

      2. Grant to Plaintiff liquidated damages against Defendants;

      3. Grant to Plaintiff attorneys’ fees, costs, and disbursements as provided by statute; and

      4. Grant to Plaintiff whatever other relief this Court deems necessary and proper.

      PLAINTIFF DEMANDS A JURY AS TO ALL TRIABLE ISSUES

      Dated this 10th day of January, 2020

                                             WALCHESKE & LUZI, LLC
                                             Counsel for Plaintiff

                                             s/ Scott S. Luzi              ___________
                                             James A. Walcheske, State Bar No. 1065635
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